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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTI-DISTRICT LITIGATION

 IN RE: Roundup Products Liability
 Litigation                                                                    MDL No. 2741

                                    PROOF OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, I hereby certify that copies of the foregoing BRIEF IN

OPPOSITION TO MOTION TO TRANSFER GILMORE V. MONSANTO TO MDL 2741

PURSUANT TO 28 USC § 1407 weas served on all parties in the following cases electronically

via ECF on August 19, 2021 to the following:

Gilmore v. Monsanto Company, D. Delaware, Case No. 1:20-cv-01085-MN
VIA CM/ECF

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